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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    JUAN REFUGIO SANCHEZ,             )       No. CV-F-05-346 OWW
                                       )       (No. CR-F-03-5165 OWW)
10                                     )
                                       )       ORDER DENYING RESPONDENT'S
11                     Petitioner,     )       MOTION TO DISMISS PETITIONER
                                       )       JUAN REFUGIO SANCHEZ'S
12             vs.                     )       SECTION 2255 MOTION (Doc.
                                       )       504)
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                     Respondent.     )
                                       )
16                                     )

17        By Order filed on June 5, 2008, the United States was

18   ordered to respond to Petitioner’s claim of ineffective

19   assistance of counsel because of counsel’s alleged failure to

20   file a Notice of Appeal after being requested to do so by

21   Petitioner.

22        The United States moves to dismiss this claim because

23   Petitioner specifically waived his right to appeal in his written

24   Plea Agreement.

25        The motion to dismiss is DENIED.       In United States v.

26   Sandoval-Lopez, 409 F.3d 1193 (9th Cir.2005), the Ninth Circuit

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1    held that it was error to dismiss without an evidentiary a

2    Section 2255 motion alleging that the petitioner, who had waived

3    his right to appeal in a plea agreement, specifically told his

4    attorney to file a Notice of Appeal.

5          IT IS SO ORDERED.

6    Dated:   June 16, 2008                 /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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